Case 6:95-cr-00037-JDK-JDL         Document 537        Filed 08/31/05      Page 1 of 3 PageID #:
                                           746



                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

UNITED STATES OF AMERICA                        §

v.                                              §            CRIMINAL No. 6:95CR37

DERRICK BRADLEY WILLIAMS                        §

                            REPORT & RECOMMENDATION OF
                           UNITED STATES MAGISTRATE JUDGE

       On August 25, 2005, the Court conducted a hearing to consider Government's Petition to

revoke the supervised release of Derrick Bradley Williams. The Government was represented by Bill

Baldwin, Assistant United States Attorney for the Eastern District of Texas, and the defendant was

represented by retained counsel, Rick Berry.

       Defendant plead guilty to one count of Distribution of Cocaine Base in violation of 21 U.S.C.

§ 841(a)(1), a Class B felony. On January 29, 1996, U.S. District Judge John Hannah, Jr. sentenced

the Defendant to 87 months in prison followed by 4 years supervised release. The supervised release

contained standard conditions prohibiting Defendant from committing any Federal, State, or local

crime during the term of supervision. While on supervised release, Defendant plead guilty to two

state crimes, and the Government brings this Petition for revocation of Defendant’s supervised

release based on these two violations.

       On May 9, 2005, in Harrison County, the Defendant plead guilty to both Counts of a two part

Indictment charging him with Delivery of a Controlled Substance. Count I alleged that on or about

January 30, 2004, Defendant intentionally or knowingly delivered more than 4, but no more than

200 grams of cocaine, and Count II alleges the same behavior on February 3, 2004. Pursuant to the



                                                1
Case 6:95-cr-00037-JDK-JDL         Document 537        Filed 08/31/05      Page 2 of 3 PageID #:
                                           747



plea agreement, Defendant received a sentence of 25 years in the Institution Division of the Texas

Department of Criminal Justice and a $1,000 fine. Defendant’s actions also violate the terms of his

Supervised Release, and carry the possibility of an independent term of imprisonment that must be

served consecutively with the sentence imposed by the State of Texas.

       Federal Statutes, supplemented by the United States Sentencing Guidelines, govern the

revocation of Supervised Release and the resulting punishments. The Court is required to revoke

Supervised Release in situations where the Defendant’s violation is sufficiently severe. Revocation

is mandatory when a Defendant commits any State crime involving a controlled substance that is

punishable by more than 1 year in prison. U.S.S.G. § 7B1.3(a)(1). In this case Defendant plead

guilty to Delivery of a Controlled Substance and received 25 years in prison. Therefore, the Court

must revoke Defendant’s term of Supervised Release and impose a term of imprisonment.

       Under 18 U.S.C. 3583(e)(3), a defendant may receive a term of imprisonment no longer than

3 years for violating the terms of Supervised Release imposed following conviction of a Class B

felony. U.S.S.G. § 7B1.4(a) sets out more specific Guideline Ranges based on the severity of the

violation and the defendant’s criminal history category. Considering Defendant’s Criminal History

Category of I and the relative severity of Defendant’s recent state drug convictions, the Guideline

Range in this case is 12-18 months.

       Defendant plead True to both violations of his supervised release as alleged in the

Government’s Petition, and the Government recommended the Court impose 12 months

imprisonment to be served consecutively with Defendant’s pending state sentence. The Defendant

had no objection to the Government’s recommendation.

       The Court finds that the defendant’s plea was made freely and voluntarily and that the


                                                2
Case 6:95-cr-00037-JDK-JDL            Document 537       Filed 08/31/05     Page 3 of 3 PageID #:
                                              748


defendant is competent to enter this plea. The Defendant will be committed to the custody of the

Bureau of Prisons after his release from the Institution Division of the Texas Department of Criminal

Justice.

           Pursuant to the Sentencing Reform Act of 1984 it is the recommendation of the Court that

immediately following his release from the custody of the Institution Division of the Texas

Department of Criminal Justice, the defendant Derrick Bradley Williams be committed to the

custody of the Bureau of Prisons for a term of 12 months with no supervised release to follow.

                          SIGNED this 31 day of August, 2005.




                                                      ___________________________________
                                                       HARRY W. McKEE
                                                       UNITED STATES MAGISTRATE JUDGE




                                                  3
